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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 FT MYERS DIVISION

In Re:

 JAMES ANTHONY BROWNLEE                          CHAPTER        7
                                                 CASE NO.       9:19-bk-03270-FMD

Debtor.
___________________________/

                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                        FILED BY TD AUTO FINANCE, LLC
              REGARDING 2018 HYUNDAI KONA, VIN KM8K22AA3JU096203


                          NOTICE OF OPPORTUNITY TO
                       OBJECT AND REQUEST FOR HEARING

       Pursuant to Local Rule 2002-4, the Court will consider the relief requested in
this paper without further notice or hearing unless a party in interest files a response
within 21 days from the date set forth on the attached proof of service, plus an
additional three days for service if any party was served by U.S. Mail.
        If you object to the relief requested in this paper, you must file a response with
the Clerk of the Court at 801 North Florida Avenue, Suite 555, Tampa, FL 33602 and
serve a copy on the movant's attorney at Evans Petree PC, 1715 Aaron Brenner Drive,
Suite 800, Memphis, TN 38120 and any appropriate persons within the time allowed.
If you file and serve a response within the time permitted, the Court will either
schedule and notify you of a hearing or consider the response and grant or deny the
relief requested without a hearing.
       If you do not file a response within the time permitted, the Court will consider
that you do not oppose the relief requested in the paper, will proceed to consider the
paper without further notice or hearing, and may grant the relief requested.



         COMES NOW, Creditor, TD Auto Finance, LLC (“TDAF”), by its undersigned
attorneys, hereby moves this Court for entry of a final order granting relief from stay as to
property of the estate of the above-named Debtor, and in support thereof would show:
         1.     This is a Motion to obtain a final order granting relief from automatic stay under
11 U.S.C. §§ 361, 362 and 363.
         2.     The Debtor filed the instant Chapter 7 case on April 10, 2019.
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        3.       TDAF is a creditor of the Debtor by virtue of a Retail Installment Sale Contract
("Contract") dated June 25, 2018, whereunder the Debtor purchased a 2018 Hyundai Kona, VIN
KM8K22AA3JU096203 ("Collateral"), and the Contract was assigned to TDAF for value and in
good faith. The Contract is attached hereto and incorporated herein.
        4.       Said Contract grants TDAF a security interest in the Collateral, and the security
interest is perfected by notation of TDAF’s lien on the Certificate of Title.          The Vehicle
Information Check from the Florida Department of Highway Safety and Motor Vehicles is
attached hereto and incorporated herein.
        5.       Debtor is in default under the terms of the Contract in the amount of $416.66 by
failing to pay the May 9, 2019 payment and all subsequent due payments. The payoff amount is
$11,413.10.
        6.       Pursuant to 11 U.S.C. §§ 361 and 363, TDAF is entitled to adequate protection for
its interests in the subject Collateral.
        7.       The failure by Debtor to make timely payments has deprived TDAF of the
adequate protection to which it is entitled with respect to the subject Collateral, which constitutes
grounds for relief from the automatic stay pursuant to 11 U.S.C. §362(d)(1).
        8.       All conditions precedent to the relief demanded herein have been performed or
have occurred.
        WHEREFORE, THE ABOVE PREMISES CONSIDERED, TDAF prays that:
        1.       The automatic stay be terminated as to TDAF, its Collateral and the proceeds
thereof, so that TDAF may proceed with any and all remedies available under state and/or
federal law that are not inconsistent with Title 11 of the United States Code effective
immediately, and
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       2.     TDAF have such further and other relief to which it may be entitled in the
premises.

                                            /s/Bertis A. Echols, III
                                            Bertis A. Echols, III, Esquire
                                            Florida Bar Number 0063387
                                            Attorneys for the Creditor TD Auto Finance, LLC
                                            1715 Aaron Brenner Drive, Suite 800
                                            Memphis, TN 38120
                                            (901) 525-6781
                                            (901) 248-6854 (fax)
                                            bechols@evanspetree.com



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY THAT a true and correct copy of the foregoing Motion for Relief
from Stay, with supporting Exhibits, was furnished by electronic or First Class U.S. Mail postage
prepaid to Debtor, James Anthony Brownlee, 25069 Peacock Lane, #101, Naples, FL 34114;
Attorney for Debtor, David Lampley, 1436 Royal Palm Square Blvd., Fort Myers, FL 33919-
1049; Trustee, Robert E. Tardif, Jr, Post Office Box 2140, Fort Myers, FL 33902; United States
Trustee - FTM7, Timberlake Annex, Suite 1200 501 E Polk Street, Tampa, FL 33602, on this
27th day of June, 2019.

                                            /s/Bertis A. Echols, III
                                            Bertis A. Echols, III, Esquire
                                            Florida Bar Number 0063387
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Vehicle Information Check
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  Florida Department of Highway Safety and Motor Vehicles                        Home | Español | Driver License | Vehicle Tags & Titles | Florida Highway Patrol | Contact Us | Forms | Office Locations




                                                                         Vehicle Information Check

                                                                                    Vehicle Information:
                                                                                                                                             2018 HYUNDAI MOTOR
                                Vehicle Identification Number: KM8K22AA3JU096203                    Year/Make:
                                                                                                                                             AMERICA
                                Previous Title State:                   NEW JERSEY                  Registration Expiration Date:            5/28/2020
                                Title:                                  131966288                   Title Issue Date:                        8/15/2018
                                Title Status:                           ACTIVE                      Title Print Date:                        8/20/2018
                                                                        2,890 ACTUAL
                                Odometer Reading/Status:                                            Odometer Date:                           8/15/2018
                                                                        MILEAGE
                                Color:                                  BLUE                        Vehicle Type:                            AUTO
                                Net Weight:                             2,857                       Owner Information:                       1 owner
                                Electronic Title with Electronic Lien                               Salvage:
                                Brands:




                                                                                       Lien Information
                                Name                                    Address                                                Date                 Receipt Date
                                                                        PO BOX 675
                                TD AUTO FINANCE LLC                                                                            6/29/2018            8/13/2018
                                                                        WILMINGTON, OH 45177- 0675
                                If any of the information on this record needs to be corrected, please contact your tax collector
                                and complete appropriate paperwork to update the record.
                                If you have lost or misplaced your title and need to apply for a duplicate, click here for the form
                                and instructions.

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